Case 2:04-cv-02700-.]DB-dkv Document 17 Filed 07/07/05 Page 1 of 5 Page|D 39

IN THE UNITED sTATEs DISTRICT CoURT 'F"‘ED B"' -C- " `D¢¢-

FOR THE WESTERN DISTRlCT OF TENNESSEE

WEsTERN DIVISION 05 JUL `7 AH mi l l
ALLIsoN DEvANTE and CF ng‘§d“ill,p§§%”l)mm
JOREAL DEVANTE, urch :. l {EL;MDHE
Plaintiffs,
v. No, 04-2700 B

LES BROWNLEE, in his official
capacity as Secretary of the
Department of the Army,

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO DISMISS

 

This lawsuit was initiated by the Plaintiffs, Allison and Joreal Devante, alleging that Mrs.
Devante, an enlisted soldier in the United States Army, was forced into discharge from the military
after she complained of being sexually assaulted by a superior officer, in violation of Title VH of the
Civil Rights Act of 1964, 42 U.S.C. § 1983, and Tennessee common law. According to the
complaint, Mr. Devante was arrested after he complained to Anny command officers concerning the
assaults on his Wife. He seeks damages for the loss of consortium, love and affection of his Wife.

Before the Court is the motion of the Defendant, Les Brownlee, in his official capacity as
Secretary of the Department of the Army, to dismiss this matter pursuant to Rule 12(b) of the Federal
Rules of Civil Procedure, as well as failure to exhaust administrative remedies. The motion is ready
for disposition even though the Plaintiffs have failed to respond thereto, as the time for such response
has expired. §e_e LR7.2(a)(2), Local Rules of the United States District Court for the Western

District of Tennessee. The Defendant contends that dismissal is appropriate on four grounds: (l)

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Case 2:04-cv-02700-.]DB-dkv Document 17 Filed 07/07/05 Page 2 of 5 Page|D 40

lack of subject matter jurisdiction based on the fact that Plaintiff Allison Devante was a uniformed
member of the United States Army at the time the relevant incidents occurred; (2) lack of subject
matter jurisdiction as a result of the Plaintiff‘s failure to exhaust her administrative remedies; (3)
improper venue in this district because the relevant acts occurred at Fort Drum, New York; and (4)
insufficiency of service of process.

As it is dispositive, the Court will address only the first jurisdictional argumentl Subsection
(l) of F ed. R. Civ. P. lZ(b) permits dismissal of a complaint for “lack of jurisdiction over the subject
matter." ln the coinplaint, the Plaintiffs allege that Mrs. Devante was at the time the incidents
occurred "enlisted in the United States Army" and an "active duty soldier in the United States Army."
(Compl. at 1[ 5.) Further, it was alleged that "during [her] tour of duty Plaintiff was stationed and
posted at Fort Drum with the lOth Mountain Division of the United States Arrny, and was given the
special detail of entertaining the troops as a singer and entertainer." (Compl. at ‘[l 7.)

ln Coffman v. State of Michigan. 120 F.3d 57 (6th Cir. 1997), the Sixth Circuit recognized
that the Supreme Court has held that soldiers may not bring a suit for damages in civilian court
alleging discrimination by their superiors. Coffman, 120 F,3d at 59 (citing Chappell v. Wallace, 462
U.S. 296, 103 S.Ct. 2362, 76 L.Ed.2d 586 (1983)); segals_o Fisher v. Peters, 249 F.3d 433, 438 (6th
Cir. 2001). "The special status of the military has required, the Constitution has contemplated,
Congress has created, and this court has long recognized two systems of justice, to some extent
parallel: one for civilians and one for military personnel. " Coffman, 120 F.3d at 59 (citing Chappell,
462 U.S. at 303-04, 103 S.Ct. at 2367). "Congress has plenary authority over the military, and has
exercised that authority to establish statutes regulating military life and to provide for a

comprehensive internal system of justice. That system provides for the review and remedy of

Case 2:04-cv-02700-.]DB-dkv Document 17 Filed O7/O7/O5 Page 3 of 5 Page|D 41

complaints and grievances of uniformed members of the armed forces." Ld. (citing Chappell, 462

U.S. at 301-03, 103 S.Ct. at 2366-67).
Consistent with the reasoning in Chappell, courts of appeals have consistently
refused to extend statutory remedies available to civilians to uniformed members of
the armed forces absent a clear direction from Congress to do so. Thus, uniformed
members of the armed forces have no remedy under Title VII of the Civil Rights Act
of 1964.
§ Moreover, while Title VII prohibits the military from engaging in acts of employment
discrimination, “[t]he Equal Employment Opportunity Commission and the circuits that have

considered this statute have interpreted it to apply only to suits by civilian employees of the military

departments, and not members of the armed forces." Fisher, 249 F.3d at 438. As noted herein, Mrs.

 

Devante has consistently averred in this action that she was a uniformed member of the armed forces,
not a civilian, when the alleged discrimination occurred. Thus, her lawsuit based on Title VII cannot
stand.

Although 42 U. S.C. § 1983 is referred to in the complaint, the basis for the claim is
somewhat unclear, primarily because the statute requires a constitutional violation engaged in by a
state actor,1 neither of which have been alleged here. ln any case, the claim must fail, as the doctrine
of intra-military immunity articulated by the Supreme Court in Feres v. United States, 340 U,S. 135,
71 S.Ct. 153, 95 L.Ed.2d 152 (1950) bars members of the military from challenging military

decisions under § 1983. §§ Overton v. New York State Div. of Militarv and Naval Affairs. 373

 

1Section 1983 imposes liability on any "person wlio, under color of any statute, ordinance,
regulation, custom or usage, of any State" subjects another to "the deprivation of any rights,
privileges, or immunities secured by the Constitution or laws." 42 U.S.C. § 1983. ln order to
prevail on such a claim, a § 1983 plaintiff must establish "(1) that there was the deprivation of a
right secured by the Constitution and (2) that the deprivation was caused by a person acting under
color of state law." Wittstock v. Mark A. Van Sile. Inc.1 330 F.3d 899, 902 (6th Cir. 2003).

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Case 2:04-cv-02700-.]DB-dkv Document 17 Filed O7/O7/O5 Page 4 of 5 Page|D 42

F.3d 83, 88 & n.7 {2d Cir. 2004).

Having disposed of the Plaintiffs‘ claims under federal law, the Court now turns to their state
claims. The exercise by a district court of supplemental, or pendent, jurisdiction over state law
claims is governed by 28 U.S.C. § 1367, which expressly permits the Court to decline the exercise
of jurisdiction when it has dismissed all claims over which it has original jurisdiction 28 U.S.C. §
l367(c)(3). Absent any remaining federal claims against the Defendant, the Court, in its sound
discretion, hereby dismisses without prejudice the Plaintiffs' claims against the Defendant under state
law. E Weeks v. Portage County Executive Offices, 235 F.3d 275, 279~80 (6th Cir. 2000) (district
court’s decision to decline to exercise supplemental jurisdiction lies within its sound discretion).

Based on the foregoing, the Defendant's motion to dismiss is GRANTED and this matter is
DISMISSED in its entirety.

IT IS SO ORDERED this §day of July, 2005.

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UN *ED sTATEs DISTRICT JUDGE

 

 

 

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This notice confirms a copy of the document docketed as number 17 in
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Honorable J. Breen
US DISTRICT COURT

